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Michael T. Hensley                                                                 Direct: 212-235-6436
Principal                                                                          mhensley@bressler.com


                                                        March 26, 2018

VIA ECF
Judge Claire R. Kelly
U.S. Court of International Trade
One Federal Plaza
New York, New York 10278-0001


          Re:        Lewis v. American Sugar Refining, Inc., et al
                     Civil Action No. 14-cv-02302

Dear Judge Kelly:

       This office represents Defendants American Sugar Refining, Inc. and Mehandra
Ramphal. Please allow this letter to respond to Your Honor’s letter of today’s date (Dkt#142)
and update the Court on Defendants’ objections to Dr. Parson.

       In response to the Court’s letter, please be advised that the defense has withdrawn
authentication objections to PX-1, PX-11 and PX-20. The only exhibits that the defense objects
based on authentication are PX-1, PX-2, PX-3, PX-4, PX-5, PX-7 and PX-21.

          PX-22 has been withdrawn by Plaintiff’s counsels as it is identical to PX-5.

       Lastly, Plaintiff’s counsel confirmed that they will not be calling Dr. Parson as an expert
witness. Therefore, this office withdraws any objections to qualifications. This office reserves
the right to interpose objections during Dr. Parson’s testimony if she attempts to exceed the
permissible scope of a treating provider’s testimony.

                                                        Respectfully submitted,

                                                        /s/ Michael T. Hensley

                                                        Michael T. Hensley

cc:       Nathaniel K. Charny, Esq. (via ECF only)
          Megan S. Goddard (via ECF only)
          Gabrielle Vinci (via ECF only)

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